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                                                                                  United States District Court
                                                                                    Southern District of Texas

                                                                                       ENTERED
                      IN THE UNITED STATES DISTRICT COURT                              April 02, 2020
                      FOR THE SOUTHERN DISTRICT OF TEXAS                            David J. Bradley, Clerk
                               HOUSTON DIVISION

NAZMUDIN and ROZHAN                              §
KESHWANI                                         §
                                                 §
                      Plaintiffs,                §
                                                 §
VS.                                              §   CIVIL ACTION NO. H-18-3797
                                                 §
AMERICAN BANKERS INSURANCE                       §
COMPANY OF FLORIDA                               §
                                                 §
                                                 §
                      Defendant.                 §

                                             ORDER

       Because of the COVID-19 pandemic and national emergency, the court resets the current

dates for the joint pretrial order filing deadline and Docket Call setting. The new deadline for

filing the joint pretrial order and motion in limine is June 30, 2020. The new date and time for

Docket Call is July 7, 2020, at 8:30 a.m.

              SIGNED on April 2, 2020, at Houston, Texas.



                                            ___________________________________
                                                        Lee H. Rosenthal
                                                 Chief United States District Judge
